Case 3:05-cr-30133-DRH      Document 282 Filed 12/29/06     Page 1 of 2   Page ID
                                      #767



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

      Plaintiff,

v.

ENOCH SMITH (a.k.a., “Rudy Slack”),
et al.,

      Defendants.                                 Case No. 05-cr-30133-07-DRH

                                     ORDER

HERNDON, District Judge:

            Before the Court are two pretrial motions filed by defendant Enock

Smith (a.k.a., “Rudy Slack”): Defendant’s Motion for Disclosure of Government

Evidence Offered Pursuant to Federal Rule of Evidence 404(b) (Doc. 275) and

Defendant’s Motion for Disclosure of Expert Testimony (Doc. 276). Although the

time period allowed for the Government to Respond has not yet expired, because of

the upcoming trial date of January 22, 2007, and because Defendant is entitled to

such information pursuant to Federal Rule of Criminal Procedure 16, the Court

GRANTS both Motions (Docs. 275 & 276).

            Accordingly, the Government is hereby ORDERED to:

            (1)     Disclose and provide to defendant Smith’s attorney any and all

                    evidence the Government intends to offer under Federal Rule of

                    Evidence 404(b) by Friday, January 5, 2006 (and maintain

                                    Page 1 of 2
Case 3:05-cr-30133-DRH   Document 282 Filed 12/29/06     Page 2 of 2   Page ID
                                   #768



                 future compliance with the Rule); and

           (2)   Pursuant to Federal Rule of Criminal Procedure 16(G), to

                 provide defendant Smith’s attorney with a written summary, by

                 Friday, January 5, 2007, of any testimony it intends to use in

                 its case-in-chief at trial under the Federal Rules of Evidence

                 702, 703 or 705.

           IT IS SO ORDERED.

           Signed this 29th day of December, 2006.

                                                 /s/       David RHerndon
                                                 United States District Judge




                                 Page 2 of 2
